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            EXHIBIT 3
CAUTION: THIS DOCUMENT HAS NOT YET BEEN REVIEWED BY THE COUNTY CLERK. (See below.)                 INDEX NO. UNASSIGNED
NYSCEF DOC. NO. Case
                1    1:24-cv-07975-AT             Document 49-3        Filed 12/18/24 RECEIVED
                                                                                       Page 2 ofNYSCEF:
                                                                                                 4      11/19/2024




            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF NEW YORK

                                                                       Index No.
             JANE DOE,
                                                                       Date Index No. Purchased:
                                           Plaintiff,

             v.                                                        Plaintiff designates New York County as the
                                                                       place of trial.
             ANTHONY G. BUZBEE,
                                                                       The basis of venue is CPLR § 503.
                                           Defendants.
                                                                       SUMMONS WITH NOTICE


            TO THE ABOVE NAMED DEFENDANT:

                    PLEASE TAKE NOTICE THAT YOU ARE HEREBY SUMMONED and required to

            serve upon the attorneys for Jane Doe, at the address stated below, a notice of appearance or

            demand for complaint within twenty (20) days after the service of this Summons (excluding the

            day of service itself) or within thirty (30) days after service if this Summons is not personally

            delivered to you within the State of New York.

                    The Plaintiff designates New York County as the place of trial. Venue is proper in this

            Court under CPLR § 503 because Defendant maintains a residence and is licensed as an attorney

            within New York, New York, and a substantial part of the events giving rise to these claims

            occurred here. This Court may exercise personal jurisdiction over Anthony G. Buzbee pursuant

            to CPLR § 302(a)(3) because he committed a tortious act that harmed Plaintiff in New York and

            because he (i) regularly does or solicits business, or engages in any other persistent course of

            conduct, or derives substantial revenue from goods used or consumed or services rendered, in the

            state, and/or (ii) expects or should reasonably expect the act to have consequences in the state and

            derives substantial revenue from interstate or international commerce.


                                                             1
This is a copy of a pleading filed electronically pursuant to New York State court rules (22 NYCRR §202.5-b(d)(3)(i))
which, at the time of its printout from the court system's electronic website, had not yet been reviewed and
approved by the County Clerk. Because court rules (22 NYCRR §202.5[d]) authorize the County Clerk to reject
filings for various reasons, readers should be aware that documents bearing this legend may not have been
accepted for filing by the County Clerk.                                                                          1 of   3
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                                                          NOTICE

                    This is an action for Legal Malpractice, Violation of Judiciary Law § 487(2), Breach of

            Fiduciary Duty, Intentional Infliction of Emotional Distress, Negligent Infliction of Emotional

            Distress, Misrepresentation, Fraudulent Concealment, Fraud, Tortious Interference, and

            Declaratory Judgment. Plaintiff brings these causes of action to address Defendant's misconduct,

            which began with his assault of Plaintiff and escalated during his representation of her in divorce

            proceedings, where he prioritized concealing his actions over safeguarding her legal interests.

            Defendant’s unethical conduct resulted in a Divorce Settlement that deprived Plaintiff of millions

            of dollars to which she was legally entitled. The relief that Plaintiff seeks includes: (i) actual

            damages, consequential damages, punitive damages, and any such other relief available under the

            causes of action in an amount to be determined at trial; (ii) a declaration that the Divorce Settlement

            is null and void; (iii) the costs of bringing this suit, including reasonable attorneys’ fees; and (iv)

            and such other, further, and different relief as to the Court appears just and proper.

                    YOU ARE HEREBY NOTIFIED that, on your failure to appear or answer, a judgment will

            be entered against you by default granting the relief requested above, including damages to be

            determined, plus interest at the rate prescribed by law, attorneys’ fees, costs of this action and such

            other and further relief as this Court may deem just and proper.




                                                              2
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             Dated: New York, New York                     BOHRER PLLC
                    November 19, 2024

                                                   By:



                                                           _______________________________
                                                           Jeremy I. Bohrer
                                                           1717 West 6th Street
                                                           Suite 100
                                                           Austin, TX 78703
                                                           jb@bohrerpllc.com


                                                           Attorneys for Plaintiff Jane Doe


            TO:

            Anthony G. Buzbee
            The Buzbee Law Firm
            600 Travis St #7500
            Houston, TZ 77002




                                                            3
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